Case 2:18-cV-00023-.]ES-C|\/| D,O$i)ment 1-1 Filed 01/12/18 Page 1 of 23 Page|D 13

cz§ com of the my of nw york 102257717

Co ty of Bronx

--------- ------- --~----------~x _LEGL

2524 LLC, INI’DRHATION
SUBPOENA WITH
Plaintiff - Judgment Credltor, RESTRAINING NGTICB
~against~ Re= Rosario Batista
Rosario Batista File No. 11522
_-6524 _ rudex No. Ls,r assoc/09

De£cnduntls) - Judgment Debtor(a).

.......... .------------..--.----.--_.--....-------...-.-..---.---.....-...-....x

THE PEOPLE OF THE STATE OF NEW YORK
‘I’0: WELLS FA.RGO BANK
LBVY & Colll’t Orders, MACX Dllll-°lA PO BOX 1416

CHARLO'|'I‘R, NC 28201
hccount Holds and Levies
RE\ 2524 LLC v Rosario Batinta

Hl-IEREAS, there is an action in thé above entitled Court, between the above named Plaintiff and
oe£endant who are all the parties named in said action, end a Judgment, which was entered on 11/09¢‘200-.> ;.-
lavor of the plaintiff, 2524 Lr..c against the DeEe.,dent£s) Rosario natiata, in the total amunt of

‘,'.D`i 24 :'-.‘ ".‘:5.-`) 3'.!, '.'8'.\.2.. together .'.\'h inttr~..:'.' thereon from the date of entry :\..'~‘n:u:a c.:x'.' and

unpuid.

HHBF.EAS. it appears that you may he .l.h possession or custody of property which Judgment Debtor has an intczcm‘..

uow 'n-BRBPORE, YOu ARB mikan mmmnzb. to furnish to the undersigned. in writing under oath. aeperate.
complete and full anavere to such written question on the questionnaire accompanying this Subpoens, and tech answer
referring to the questions to which it responds must be clearly notes; You Mus'r_Rlz'rUnN 'nln waivers 'rr.os'rmzs wr'm mr
l)“¢lGINAL QUESTIONNA‘IR£ W!TH]N '|¥!VEN (`l') bAYS. after your receipt of this Subpoenn.

REBTRA___I_NI§§ §0‘.|.'! CE

PLBASR ‘rm:g No'l'ICE, that wrsuant to subdivision lb} of Section 5222 of the C?Ln which is sm. fnth in *.~_\il
hersin, you arc hereby forbidden to make or cutter any eale. assignment or transfer of, interference rita any property
in which you have an intarest. except as that-un provided And that this notice also covers all property in which the
.ludgment bebtox has an interest hereinafter owing into your possession or custody. and all debts hereafter coming due

iron you to the Judgnent nchtor.

CIVIL PRACTI§§ LAW AND RuLEB
Section 5222())| Bffect of rentraix\, prohibition of transfex, duretion. A judgment debtor served with a restraining
notice is forbidden to make or uuifer any oale, assignmsnt, transfer or interference with any properly in which he has
on interest. except upon direction of the sheriff or pursuant to an order of the Court, until the Judgmenl. is satisfied
or vacuted. A restraining notice served upon a person other than the Judgnent bettor ia effective only ii'. st the time
of eervico, ho owes a debt tn the Juugment Debtor cr he is in possession or custody of property in which he knows or
has reason to believe the dudgmc.nt nebtor has an interest. or ii the judgment credit has stated in the notice that a
specified debt i,a owned by the person served to the judgment debtor or that the judgment debtor has an interest in
specified property in the possession or custody of the person aervcd. all property in which the judgnent debtor is
known or believed to have an interest then in and thereafter coming into the possession or custody ot such s person
including any specified in the notice, and all debts ot such a person, including any specified in the notice. then due
and thereafter coming due to the judgment debtor. shall be subject to the notica. such a person is forbidden to sake or
suffer any eale, assignment or transfer of, or any interest with. any such property. or pay over or otherwise dispose
of any such debt, to any person other than the nheriff, except upon direction of the sheriff of pursuant to an order et
the Court. until the expiration of one year after the notice is served upon him or until the judgman in satisfied or
vacated, whichever event first occure. lt judgment creditor who hen a specified personal property or debt in n
restraining notice shell be liable to the owner of the property or the person to whom the debt ia owed. it other than
the judgment debtor. ¢or any damages sustained by reason of the reatrain. I£ a garnishee served with a restraining
notice withholds the payment ot money belonging or owed to the judgment debtor in an amount equal to twice the amount
due on the judgment, the restraining notice is not effective ss to other property or money.

hands Defined as "exempt" or otherwise excluded under applicable law must not be restrained under this notice. lt you
have any questions regarding such funde. refer to the attached iniormation subpoens, or contact your attorney er the

undersigned.
PhBABB TAKB !UR'MBR _Nofl’ICB that false swearing or failure to comply with this Bubpoena and hestraining

Notios is_ punishable as s contempt o£ Court.
v RESPONSB 18 ONLY REQ'UIR- IF JUDGMBNT DEB'l'OR_(S) HAS
oates 10/19/2017 EVBR HAD A RELATIONSHIP WITI-t YCUR INSTITUTION

cary Kavulich, Esq.
181 heetchsater Avenue, suite 500¢'.‘
Port Chester. NY 10573 v

(914) 355~2014 /,mL/)QC/ 7[€ v `\

/;XA//é/f /Q'//

 

, -! _ f_
CaSe 2:18-cV-00023-.]ES-CI\/| Do'Cument 1-1 |j`|eYG-l_/lZ/léz Page 2 of 23 Page|D 14

_r

Case 2:18-cV-OOO23-.]ES-CI\/| Document 1-1 Filed 01/12/18 Page 3 of 23 Page|D 15

samuede
NHUNTER Being duly sworn deposes and says,~ that deponent is the ‘
WW of Recipient of an information subpoena herein and of the original and a copy
of questions accompanying said subpoena. 'rhe answers set forth below are made from information
obtained from the records of the recipient.

0. No. 1 As to each such account, what is the exact title of the account, the date opened,
amounts presently on deposit; if closed, the amount on deposit when closed and the date closed?

'x‘i_t___le te ene L\MLSJ. Date Closed
v OPENED 11'3'14 *OPENEI) 11/3/14
ROSARIO BATISTA RQSAR[Q BAT\STA
BAL': $1 .269. 79 BAL: $2.355.34

Q. No 2 what i.s the debtor' s name, Social Security and Date of Birth as listed in your records
? (I\lso joint account hoider. if applicablel
N;___ me __ §S_#_ Date of Birth

 

ROSARlo BAn
SSN/TID: NO STA

Dos: *
C,. no 3 W)zat. le the debtor's place of business including name, address and telephone number as
listed in you:: records? EMPLO¥ER discovery seniorliving
BUS. PHONE
ADDRESS: N/A

Q. No. 4 Doea debtor have automatic credits (paychecks, social security, etc.) deposited to
any account:z. 1£ yes from where (including name and address)
AUREON HR l, lNC PAVROL

ADDRESS: N/A

Q. Nr). 5 what in debtor's home address and home telephone number

 

 

643'NE eTH PL
CAPE CORAL FL 33909-2 3 '
HOME PHDNE
Q. uo. s rs nccoun'r REsTnAINF.n? Yss or tcircle one)?
WEL|.SFAF|GOBANKN.A.
Asssd\c!our mine down
Sworn to before me this day of -A-N§O°m~gés
UNTGLOSED
/' mms§nawm UE
signature § mac or wpa swann cary xavulicn, ssq. .
At\'-°r"=¥(€) for the ~'Nd§“\¢nt C¢'*’~di‘=°l’ 181 westchester Avenue, Suite 500C
P°Bt office Mdress¥ Port chestecr_u'v ‘nqqq

(914) 355-2074

' Bxcecpt from CPLR 5224 (a) J. “...Anewers anal! he nada in writing under oath by the person upon whom eervice. i£ an
individual. or by an officer directory agent or employee having information if a corporaticn, partnership or sole
proprietorship. such question shall be answered separately and fully and each answer shall refer to the question to
which it responds. mowers shall be returned together with the original of the questions within seven days after
receipt.'

I H£RBB¥ CERTIFY TRAT 'I'HIS INFORMATION SUBFCENA COMPLIES NITH RULE 5224 Ol" THB CIVIL' FRACTICE LAW AND
RUhES SECTION 601 CP ’I'HB GENBRAL BUBINBSS LAW THA'|.' I HAVE A RBASONABLB BBLIBF THA'|.° THE PARTY RBCEIVING
THIS SUBPOBNA HAS IN THBIR POSSESSIOH INFORMATION ABOUT THE DBBTOR THAT WILL ASSIST ’|'HB CREDITOR IN
COLLBC'I'ING THE JUDGMBNT

 

Case 2:18-cV-OOO23-.]ES-CI\/| Document 1-1 Fj|ed 01/12/18 Page 4 of 23 Page|D 16

MM$RMM ' ‘Q`RAQ\_\_!§;»-'. .‘_FW

QWM\=HM

‘MWW

Case 2:18-cV-OOO23-.]ES-CI\/| Document 1-1 Filed 01/12/18 Page 5 of 23 Page|D 17

Legal Order Processlng Duu~ot/t

WELLS l P.O. Box 1416
FARGO Charlott¢, NC 28262

November 1, 2017

ROSARIO BATISTA
643 NE QTH PL
CAPE CORAL FL 33909-2033

Subject: Required withdrawal from your account ending in 8233`
Wells Fargo case number: *

Dear ROSAR[O BATISTA:

We want to let you know that on October 30, 2017, Wells Fargo was served with the enclosed legal
ordcr, in the amount of $3,783.24, which rcquin's us by law to deduct money from your account
ns a result, we withdrew $0.00 from your account ou October 30, 2017 and charged a non-
refundable processing fee of $27.34. Please be aware we may. withdraw money in the future in
response to the legal order.

 

Account Number chit Amount Bank Fee
XXXXXX8233 $0.00 $27.34

 

 

 

If you would like more information about the enclosed legal order, please contact:

Kavulich & Associates

(914) 355-2074 `
Case N0:4830009

If you have questions about your account, please call Wells Fargo Customer Service at (800) 344-,
8170, 24 hours a day, 7 days a week.

Thank you.
Sincerely,

loc MM»'M

Operations Manager
Legal Order Processing

 

Case 2:18-cV-OOO23-.]ES-CI\/| Document 1-1 Filed 01/12/18 Page 6 of 23 Page|D 18

M Gmai| Rosarlo Batlsta <rbatlstaZ‘lS@gmall.com>

 

FlLE NO 11522-ROSAR|O BAT|STA

1 message

 

Rosarlo sanzo w Mon, Nov 6. 2017 ar 12:17 PM
To: gkavulIch@kavu|lchandassociates.com

Dcar Mr. Kavulich,

Hope you can assist in verifying the following situation, my account was debited on lO/ 30 & 10/31,
when I reached out to my bank I was given your firm information.The first initial contact to your
firm was when I call with provided information from my financial institution on Wednesday,
Novernber an @ 4:28 pm, when I notice the two debit transaction from my account

I need verifiable proof of supporting document of alleged debt owe from 2009 from a landlord
thn I called your firm it was mention an address, which I have never lived at the address indicated
within your claim. Can you please forward

documentation from original debtor.

Thank you in advance for your assistance with this matter for file no 11522.

K.incl Regards,

Rosario Batista

 

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Case 2:18-cV-OOO23-.]ES-Cl\/l Document 1-1 Filed 01/12/18 Page 8 of 23 PagelD 20

Scott Stamatakis

From: Stamatakis + Tha|ji + Bonanno

Sent: Wednesday. November 22, 2017 1224 PM

To: ‘GKavulich@kavu|ichandassociates.com‘; Gary Cruz

Cc: Rosario Batista

Subject: L17-1232-RE: File # 11522 case's court summary-Rosario Batista

Attachments: 11522_2371.pdf; Exemption Claim Form.pdf; Garnishment letter send to my JOB

11.22.17.pdf

Apparent|y you are proceeding forward despite my prior request for debt veriHcation
which still has not been responded too. I understand that you are now contacting my
client’s employer directly as attached. First of all, I believe you may have to wrong
debtor and second of all, you are using both deceptive and illegal collection means. You
have not domesticated your judgment in Florida and your subpoenas has no jurisdiction
here. I have also verified that you are not licensed to practice law in Florida, nor are
you a registered debt collection agency in Florida, Stil|, despite all this, you are now
jeopardizing my client’s job and causing her great emotional distress. I am putting you
on notice again about your wrongful conduct while we prepare a complaint for various
debt collection violation and we will seek punitive damages because of your insistence
on pursing this in the manner you are pursuing it. My advice to you right now would be
to cease all collection attempts. Furtherrnore, we will be Hling a complaint against your
law practice and your client next week in the Midd|e District of Florida to seek statutory
and actual damages as well as punitive damages. In lieu of such complaint, I will give
you one opportunity to settle this presuit for $15,000 and your client’s agreement to
cease all further collection attempts going forward. This offer will remain open until
5:00PM on 11/25/17 at which time it is withdrawn if not accepted in writing prior to
then. I will also fax this to (914) 355-2078.

Sincerely,

Scott D. Stamatakis, Esq., Attorney at Law
STAMATAKIS + THA|_JI + BONANNO

8751 North Himes Avenue

Tampa, Florida 33614

Tel: 813-282-9330

Fax: 813-282-8648

Toll: 866-479-6946

Email: StamatakisThaljlBonanno@MYINJURY. com
Web LLMXEQ&E§LQS$£_EAILQBNEX&.QM

 

Case 2:18-cv-OOO23-.]ES-Cl\/l Document 1-1 Filed 01/12/18 Page 9 of 23 PagelD 21

From: Stamatakis + Thalji + Bonanno

Sent: Tuesday, November 14, 2017 12:41 FM

To: Gary Cruz <gcruz@kavulichandassociates.com>

Cc: Rosario Batista '

Subject: RE: File # 11522 case's court summary-Rosario Batista

To Whom It May Concern:

This letter is being sent to you in response to the above-referenced matter. This correspondence is a
notice of representation and a request to cease all further communication with the consumer listed above
in accordance with the Fair Debt Collection Practices Act 15 USC l692(c)(c). This email is also a
notice sent pursuant to the Fair Debt Collection Practices Act, 15 USC 1692(g)(b) that your claim is
disputed and validation is requested.

 

This is NOT a request for “verification” or proof of my mailing address, but a request for
VALIDATION made pursuant to the above named Title and Section. I respectfully request that your
offices provide me with competent evidence that I have any legal obligation to pay you.

Pursuant to 15 USC 1692(g)(b), please provide me with copies of any of the following:
' Verification of the alleged debt or copy of any alleged judgment
' The name and address of the original creditor

Please also provide me with copies of the following documents:
" Agreement with your client that grants you the authority to collect on this alleged debt
l Agreement that bears the signature of the alleged debtor wherein he/she agreed to pay the

creditor

Any insurance claims been made by any creditor regarding this account

Name on file of alleged debtor

Alleged account number

Address on file for alleged debtor

Amount of alleged debt

Date this alleged debt became payable

Date of original charge off or delinquency

Verification that this debt was assigned or sold to collector

Complete accounting of alleged debt

Commission for debt collector if collection efforts are successful.

Provide me with your license numbers to collect in my state

At this time l will also inform you that if your offices have reported invalidated information to any of
the 3 major Credit Bureau’s (Equifax, Experian or TransUnion) this action might constitute fraud under
both Federal and State Laws. Due to this fact, if any negative mark is found on any of my credit reports
by your company or the company that you represent I will not hesitate in bringing legal action against
you for the following:

Violation of the Fair Credit Reporting Act

Violation of the Fair Debt Collection Practices Act

Defamation of Character

If your offices are able to provide the proper documentation as requested in the following
Declaration, I will require at least 30 days to investigate this information and during such time all
collection activity must cease and desist.

2

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Case 2:18-cv-00023-.]ES-Cl\/l Document 1-1 Filed 01/12/18 Page 11 of 23 PagelD 23

Also during this validation period, if any action is taken which could be considered detrimental to any of
my credit reports, I will consult with my legal counsel for suit. 'I`his includes any listing any information
to a credit reporting repository that could be inaccurate or invalidated or verifying an account as accurate
when in fact there is no provided proof that it is_

If your offices fail to respond to this validation request within 30 days from the date of your receipt, all
references to this account must be deleted and completely removed from my credit file and a copy of
such deletion request shall be sent to me immediately.

It would be advisable that you assure that your records are in order before I am forced to take legal
action. This is an attempt to correct your records, any information obtained shall be used for that

purpose.

Any response to this request must be in Writing and sent to the address noted in this letter below by
USPS.

Response Mailing Address:
PO Box 341499
Tampa, Florida 33694

Should you have any questions or comments regarding this matter, you may reach me at the number listed
above. Thanks and have a pleasant day.

Please govern yourself accordingly.

Sincerely,

Scott D. Stamatakis, Esq., Attorney at Law
S'I`AMATAKIS + THALJI + BONANNO

8751 North Himes Avenue

Tampa, Florida 33614

Tel: 813-282-9330

Fax: 813-282-8648

Toll: 866-479-6946
Email:StamatakisThaljiBonanno@MYlNJURY.com
www.WeSueRoboCallers.com

www.ReviewMyCollectionLetter.com

Facebook Page
F ind Law

This communication is intended solely for the use of the individual to whom it is addressed and may contain
information that is privileged, confidential or otherwise exempt from disclosure under applicable law. If the
reader of this communication is not the intended recipient or the employee or agent responsible for delivering
the message to the intended recipient, you are hereby notified that any dissemination, distribution, or copjp`ng of
this communication is strictly prohibited. If you have received this communication in error, please immediately
notify us by telephone and return the original message to us at the listed communication address, Thank you.

 

Case 2:18-cv-00023-.]ES-Cl\/l Document 1-1 Filed 01/12/18 Page 12 of 23 PagelD 24

From: Rosario Batista mailto:
Sent: Wednesday, November 08, 2017 12:18 PM

To: Gary Cruz <gcruz@kavulichandassociates.com>
Sub]ect: Re: File # 11522 case's court summary

Good Morning Gary,

I see the court history documented but do you have original supporting
document that have my signature or ID presented.

I never lived there or went to court those date indicated I was living in
Florida.

Kind Regards,
Rosario Batista

On Wed, Nov 8, 2017 at 12:55 PM, Gary Cruz <gcruz@kavulichandassociates.com> wrote:
Good morning Rosario,

As you had been requiring iii our previous phone conversations, attached you will find a copy of the history
; of your case, that court have been following since 2009. In case of any question, please feel free to contact us
l again.

z Greetings

Gary Cruz

Kavulich and Associates

181 Westchester Avenue, Suite 500C
Port Chester, NY 10573

Ph: l9l4l-355-2074
ax: 914 -355-2078

The information transmitted by this electronic mail (and any attachments) is being

sent by or on behalf of a lawyer; it is intended for the exclusive use of the addressee
named above and may constitute information that is privileged or confidential or otherwise
legally exempt from disclosure. If you are not the addressee or any employee or agent
responsible for delivering this message to same, you are not authorized to retain, read,
copy or disseminate this electronic mail (or any attachments) in error, please reply to this
e-mail and send written continuation that same has been deleted from your system.

Thank you.

@oooi/oooz

11/08/201? 11218“ FAX

Case 2:18-cv-00023-.]ES-Cl\/l Document 1-1 Filed 01/12/18 Page 13 of 23 PagelD 25

 

§ASE_S!JMMBX ,_`
Court: Bronx County Civil Couri Peo‘iioner(s}:
index Number: LT-048300~09IBX 2524 LLC
Case Type: Landlord and Tenant VS.
vFileci Date'._ 08/31/2009 y , . ' . _ . ' . . .' .
Propcny Type: Resideniial R$P°nd¢m($):
classiamion: . ., - ._ Non;payfnent _ _ » . _ . _ . .-_. . . RQSARIO BAT{_STA,.._.. .,-.._ l .__ ; .._.: : ..:.,_;,. .. . __ -~ _
__ stan-ls:._:_ ' .. _ .oP.°St_-Disp°sit.i°n z -. k , . ¢_ :?_ , ' ’ n .l_ ' - '_. , . l _; l . l . ` _, {. 4. _ .,_ __v__»: -:,._ ..._.. .'. ..;\. :.;» . .'h~,.°.... . ._ _» .-. .~:': ... _ .
msposed' baez w _' lymo,o.g ', -. . , ’ . . .. °,, .-» ... . . . .. ....`.,,_`._ ... ., ` ° ` " v ' . ' "- 7
Disposed Reason: Conversion

Cause(s) of Action: Non-Payment in the amount of $2,916.62
Propei’ty Address(es): 2526 BRONX PARK EAST SB, BRONX, NY 10467, Additional Propeity Description: SB

(P) 2524 i.Lc
JAYsoN BLAU, EsQ. - 5600A BROADWAY, BaoNx, NY 10463, 718.432.6010

(R) ROSARIO BAT|STA - 2526 BROI`DC PARK BAST $B, BRONX, NY 10467

RAZERS_REQQRDED
08131/2009 Conversion - Petition - Notiee of Petition
09/] 8/2009 Conversion - Answer Piled (SelfRepnsented), Oral, Filed By. (R) ROSA.R.IO BATISTA
1021/2009 Motion (Order to Show Cause), Seq l, Filed By: (R) ROSARIG BATlSTA, Relief: Vacatejudgnem (WITHDRAWN), Stans: Filed
10!23/2009 Motion (General), Seq 2, Court Date(s): 12/22l'2009; 121030009; »11/09/2009, Filed By: ('P) 2524 LLC, Relief: other (RESTORE TO
CALENDAR JUDGMENT OF POSSESSION), Slatus: Decided (12/2212009, [Conversion], Eardell .I. Rashford)
lZIO312009 Moiion (Oi'der to Show Cause), Seq 3, Court Date(s): lm009; 12II7Q009, Filed By: (R) ROSARIO BATISTA, Reliel`: Vaeate judgment
Stanis: Decided (12/22/2009, [Conversion], Eardell J. Rashford)
1202/2009 judgment with Posseesion (Failure to Appear), Seq l, Filed Date: 12122/2009, Total judgment $3,?83.24, Entered Date: IBZIZOM, Statiis:
‘ _ Stade (1212712(_)_09)_. Creditoi'(s): .(1’) 252__4 LLC, Debtor(s): (R) R_OSAR_IO BA'!`I_STA . _ _. 7 . _ - _ _
12.'2212009`. ~ Conversion-JudgmeotEnmred . - '. . ` .` _ » ' . . . -. ". ` ..
112/28!2009 Motion (Order to Show' Cause), ch 4, Filed By: (R)ROSARIO BATIS'I`A, Relief: Vaeetejudgment, Status: Decided (Deoied)
01,'06!2010 ' °Mm'shal's chuest'foir Wan'ant - Oonvened - Marshal Requwt, Reviewed Date: 01/1 3120 10, Enforcemeot'Agency: N~YC Marshal', Enforcunent '
-.01/06/2'0‘10 _ :` " ' wmc (originai issuavu).'s¢q A', hamm seq i, oraedngiudg¢: i=.aideii 3. ambrord`. issu'adrsim¢'i)m;'oi/imoio, F.x¢¢uiiom siay¢d~- '

This report redeem information recorded as of l llDS/ZOI? 10:54 AM. Users should verify the accuracy of information by consulting original court records or

sourws. The Unified Court System is not responsible for consequential we of this data.
Page l of 2

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man mmuc¥moio_§n.» me».o..oo§o=. >mno$n Z<O ZuR~.o_. ma.o_.no§ns» onwan ._.EOK>m .- w~>. § dunn QNDSSP won-53
Nn§" mxS&& §§ vaughan Q=_<. manassas Um§ SBMDE¢

§

oohm.`~oow 35 ._. ramon Uommgoo m. ¢<oES. 1539on >= gang O:§Bo@" mo&o won mmv=_om§ .

Z~.ow._wooo w~n._ span moao=~. x»m»:.o_d. 389 gomez Qv oz_o_..Oc.ooBo@. >&e¢§on. _NBS§

\-Bwhoow . wong ~EGP meao_:. NRE.S@. §§ _Somo= § o_ro»..OSnoBo@. >&e=d:&. _N`N§cw.
. .._E_.~B.cow 182 .._=.n_mn §_._. _..~n.%~oa.. wEuom». 333 Ov.. <uo»$....£.~§v ©eabn§m.~. .>&o_=u»n@. ~§Beow . 4 . ..
....._§§ _.. _?i... assn §§ gear 533 338 or <»_a.seam§,. cessnva _Qaaaaa.... .. .....~..... ... .,..
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Case 2:13-cv-00023-.]ES-Cl\/l Docume_nt 1-1 Filed 01/12/13 Page 14 of 23 PagelD 26

dea queen among E.Q.=s=oo 3852_ so o». :Bwbo_.` S. § >.3. cwa 333 §§ §E~Q &. E_.ooswnou g ooev__€»w onmws~ 85 38_.& o~

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Case 2:18-cv-OOO23-.]ES-CI\/| Document 1-1 Filed 01/12/18 Page 15 of 23 Page|D 27

Civil Court of the City of Ncw York

 

County of Bronx
X
2524 LLC, lNFORMATION
SUBPOENA
Plaintiff - Judgment Creditor,
-against-
Rosario Batista Index No. L&T 48300/09
624 File No. 11522
Defcndant(s) - Judgment Debtor(s).
X

 

RE: Rosario Batista, JUDGMENT DBBTOR

To: Discover Senior Living
27599 Riverview Center Blvd., Suite 201
Bonita Springs, FL 34134
Attn: Payroll Department

GREETING:

WHBRBAS, IN AN AC'I`ION IN 'I'HB CIVIL COUR'I` OF THE CITY OF NEW YORK COUNTY OF NBW YORK
BETWEEN: 2524 LLC, AS PLAINTIFF(S) AND Rosario Batista, AS DBFENDANT(S) WHO ARE ALL THB PARTIES
NAMBD IN SAID ACTION, A JUDGMENT WAS ENTERED ON Ill09/2009 IN FAVOR OF 2524 LLC, IUDGMENT
CR.EDlTORAND AGAINST Rosario Batista, JUDGMENT DBBTOR(S) WHOSE LAST KNOWN ADDRESS lS 945 East
l74th Street, Apt 101, anx, NY 10460 IN THE AMOUNT OI" $3,783.24 INCLUDING COSTS, OF WHICH $3,783.24
TOGETHBR WITH INTERBT THBREON FROM ll/09/2009 REMAINS DUE AND UNPAID ;AND WHBREAS, THE
PERSON TO WHOM THIS SUBPOBNA IS DIR.ECTBD;(RES]DES);(IS REGULARLY EMPLOYBD);(HAS AN OFFICE
FOR THE REGULAR TR.ANSACTION OF BUSINESS IN PERSON); IN NOW, THERBFORB WB CQMMAND YOU, 'I'HAT
YOU ANSWER lN WRITING UNDBR OA'I'H, SEPARATELY AND FULLY, BACH QUBSTION IN THB QUBS'I`IONNAIR.B
ACCOMPANYING THIS SUBPOENA, BACH ANSWBR RBFERRING 'l`O THE QUES'I'ION 'DO WH[CH lT
CORRESPOND_S; AND THAT YOU RE'I'URN THB ANSWERS TOGETHER WITH 'I'HE ORIGINAL OF THB QUBSTIONS
WITHIN 7DAYS AFTER YOUR RECBIPT OF THE QUESTIONS AND THIS SUBPOENA. TAKB NOTICE THAT FALSB
SWEARING OR PAILURE TO COMPLY WITH THIS SUBPOENA IS PU`NISHABLBAS A CONTEMPT OF COURT.

UPON CONDITON THAT THE SIGNED NOTAR!ZED
RESPONSE TO TH]S SUBPCENA IS RECEIVED
WITHIN SEVEN (7) DAYS, SAID RESPONSE MAY BE
FAXED TO (914) 355-2078 OR EMAILED TO
KAVULICH@KAVULICHANDASSOCIATES.COM

Gary Kavulich, Esq.
Kavulich & Associates, P.C.

 

484-Westehesteh*¢venue,-Suite-SGCC
Port Chcster, NY 10573
(914) 355-2074

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Case 2:18-cv-00023-.]ES-CI\/| Document 1-1 Filed 01/12/18 Page 16 of 23 Page|D 28

Civil Court of the City of New York

 

County of Bronx
X
2524 LLC QllESIIQNS_AHD_ANSEEBS.AGAINSIIN.
§QNNE£XEIQN_WIIHJHF_QRMAILQN.
Plaintift` - Judgment Creditor, SLIB_P_QENA
-against-
Rosario Batista lndex No. L&T 48300/09
--6624 File No. 11522
Discover Senior Living
Defendant(s)- Judgment
Debtor(s).

X

 

RE: Rosario Batista, JUDGMENT DEBTOR
CITY OF NBW YORK, County of Bronx

4, BEING DUIX SWORN, DEPOSES AND SAYS: THAT THB

DEPONBNT lS THE OF

1

RECIP[ENT OFAN INFORMATION SUBPOENA HERBIN AND OF THE ORIGINALAND A COPY OF QUESTIONS
ACCOMPANYING SAID SUBPOBNA. THEANSWERS SBT FORTH BELOW ARE MADE FROM INFORMATION

OBTAINED FROM RECGRDS OF THB RECIPIENT.
l. Name as listed in your records?

2. Social Security Number?

3. Full home address and home phone number, including area eode?

4. Name and address of facility where defendant is/was employed.

5. Name and address of company payroll for garnishments

Date of Birth?

6. Department? Position? Salary? ls SalaryAttached? Cnrrently employed? YBS or NO (circle one) PARTTIMB

IfNo Separation Datc:

7. ls/was defendant on direct payment? Ifyes, name and address of iinancial institution along w/aecount#, ABA# and any

other number that was required for the transaction

8. ls defendants member of a union? Ifyes, namc, address and phone number of union along w/defendant’s union id #.

 

Deponent's Signaturo

SWORN TO BEFORE MB THIS DAY OF
20
____J _.‘

 

NOTARY PUBLIC

l hereby certify that this information subpoena complies with rule
5224 of the Civil Practice Law and Rules and that l have a
reasonable belief that the party receiving this subpoena has in their
possession information about the debtor that will assist the creditor
in collecting the judgment

Gary Kavulich, Esq.

181 Westchester Avenuc, Suite 500C

Port Chestcr, NY 10573

Phoue (914) 355-2074 Fax (914) 355-2078

 

 

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NEW YORK CITY MARSHAL
Stephen W. Biegel
109 West 38th Street, Suite 200 ¢ New York N 8
Phone: (212) MARSHAL (627-742 ` ax: (212) 398-200 _
NYC@MarshalBiegel.com ' www.NewYorkCityMarshal.com
November 10, 2017

 

. AUR.EON HR I, INC.
ATTN: PAYROLL/GARNISHMENT

 

 

7760 OFFICE PLAZA

DRIVE SOUTH

WEST DES MOINES IA 50266 z
JUDGMENT CREDIT 0
2524 LLC

VS
ROSARIO BATISTA /
-

JUDGMENT DEBTOR

INCOME EXECUTION ~ NOTICE OF LEVY PURSUANT TO SEC. 5231 OF THE CPLR

Please take notice that the enclosed Income Execution is a levy on the salary, wages, earnings,
commissions, etc of the Judgment Deb_tor (your employee) and that you are required to immediately
deduct and remit 10% of the debtor’s gross salary, wages, earnings, commissions, etc.

Keep the Income Execution for your iiles. Ifthere is a prior Income Execution against the Judgment
Debtor, keep this one on file until completion of the prior and then start remitting on this Income
Execution. If the employee resigns and later is rehired, the Income Execution is still in effect unless
the Marshal advises you to the contrary in writing.

MAKE CHECKS PAYABLE TO MARSHAL BIEGEL.
Please include the judgment debtor’s name and the docket # below to receive proper credit.

 

  

 

  
   
 
  

MARSHAL’S DOCKET # G13460

JUDGMBNT ......... $?,783.24
STATUTORY MARSHAL FBES ...... $20.00
POUNDAGE ............................... $327.38
EXPENSE ............................. , ..... $14.06
FILING FEE ................................ $0.00
INTEREST TO DATE ..................... $2,730.43
TOTAL ............................ ' ........... $6,875.11

In addition, interest from 11/10/17, will be calculated and when
` payments approach completion, you will be notified of the final balance

due. Please fill out and return the attached form.
. (SNDSRVSL)

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NEW YORK CITY MARSHAL
Stephen W. Biegel
109 West 38th Street, Suite 200 ° New York, NY 10018
Phone: (212) MARSHAL (627-7425) ' Fax: (212) 398-2000
NYC@MarshalBiegel .com ' www.NewYorkCityMarshal.com

W'
PLEASE ILL OUT THIS FORM, SIGN AND RETURN PROMPTLY TO THE ABOVE ADDRESS:

 

JUDGMENT CREDITOR: 2524 LLC

JUDGMENT DEBTOR: ROSARIO BATISTA

MARSHAL’S DOCKET #: Gl3460

l. We will remit: ( ) Weekly )b<rEvery two weeks ( ) Once per month
2. You can expect the initial payment by: \ 2 "Z- 2 ' \ -,\

3. Prior Income Execution(s) on tile with us as follows:-

 

Prior Number l Prior Number 2 Prior Number 3

 

Marshal

 

Date Received

 

Creditor

 

Amount

 

 

Balance

 

 

 

 

 

IF THE DEBTOR IS NO LONGER EMPLOYED, PLEASE NOTIFY THE MARSHAL'S OFFICE
ON YOUR BUSINESS STATIONERY STATING THE LAST DATE OF EMPLOYMENT.

 

 

 

 

Employer: p\,vu’€or\ \-\'V` /Disc,ov¢p»¢\ S£,r\'\or l_ivinc’)

Address: "T_KPO O€-R¢_,c, P\AZA Df°.\ So»\'\'l\- \/\i@.$"l`-/ has Moin€¢(, Il‘i
some law

By: Av\$'+"\n S'lc§¢t§'

Title: Erh.p|o\,!ee Omi€f$ §'r)edc¢iir+

Phone: gas-sawsst psz SIS'- aggriest

 

 

Email Address:

 

(SNDSRVSL)

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Civil Court ofthe City ochw Yolk

C°unty of Bronx Court Index No. L&'i' 48300/09

 

 

 

 

File No. 11522
2524 LLC,
Plaintiff. INCOME EXECUTION
Against
R , The People of the State of New York
osario Batista,

TOANY ENFORCBMENT OFF]CE GREETING:
Defcndant(e). R°

The following judgment was duly entered in favor ofthe plaintiff (iudgmcnl creditor) in the ciiice of the clerk of the within court:
nannnLQ.r.iainal.Ent.rx Em.ndiot.a QxiainslAmnunt Amount.ll.uc

Civil Court of the City ofNew York l 1109/2009 $3,783.24 $3,783.24 11/09/2009
County ofBrnnx

Thejudgncnt was recovered against Rosario Batista
And umiscripted with the county clerk(s) of County oi’Bronx Dcfcadant (Iudgment-Debtcr)

WHEREAS, this execution is issued against Rosario Batista Dei'cndant (Judgment-Debtor)
Whose last known address is: 945 Bast 1740\ Street, Apt lOl, Bronx, NY 10460

and said Deteodant (Judgment-Debtor) is receiving or will receive from the Employer‘ whose name and address is :
Aureon HR I, inc A‘l` 7760 Oiiice Plaza Drive Soutb, West Des Moinee. iA 50266

More than 3 per week, to wit $ to be paid weekly installment of $ esch:
Iitle.ncnosit|nn mses...sndiamsinn.tia. B.uman.QiIics.cr.thtiixislan Bndattlia

You arc directed to satisfy the judgment with interest together with your fees’ and cxpense, cut oi`all monies now and hereafter due and
owing to the Judgment-Debtor from the Employer pursuant to CPLR % 5231 d 15 U.S.C 1671, et. seq.

Direction to Judgment-Debtor: You are notilied and commanded within 20 days to start paying to the Enforcement Oiiicer serving a copy
of this income Execution on you: installments amounting to 10% (but no more than the Fedcral limits set forth in. “Limitations on the amount
that can be withheld" hciow? of any and ali salary, wages or other income, including any and all overtime eamings, commissions or other
irregular compensation rece ved or hereafter to be received from your Employer and to continue paying such installments until thejudgmcnt
with interest and the fees and expenses of this income Execution arc fully paid and satisfied, and ifyou fail to do so this income Execution
will be served upon the Bmployer by the Eni`orcement Oiiieer.

Direction to the Empioyer: You are commanded to withhold and pay over to the anorcement Oiiiccr serving a copy of this income
Execution on you: installments amounting to 10% (but no more than the cheral limits set fourth ln. “Limitations on the amount that can be
withheid" below) of any and all salary, wages or other income, including an and all overtime camings, commissions or other irregular
compensation now or hereafter becoming due to Judgment~chtor until the udgment with interest and -i'cee and expenses of this Income
Execution arc fully paid and satisiied.

__

/ *~_._._.-_

 

Dated Gary Kavulich, Esq.
10/19l2017 Kavulich & Associates, ?.C.
181 Westchester Avenuc, Suite 5000
Port Chcster, NY 10573
(914) 355-2074

 

 

 

 

0 “Employer*‘ herein includes any payor of money to iudgnent-Debwr.

Important Statcment
This income execution directs the withholding of up tc 10 percent of the ludgment-Debtor's gross income. In certain 'cascs, howevcr, state or federal

law does not permit the withholding of that much of thejudgment debtor’s gross incomc. The Judgment-chtor is referred to Ncw Yorlc Civil Practicc Law
and Ruies % 5231 and 15 United State Codc % 1671 et seq.

I. Limltation on the amount that can be withheld
A. An income execution for installments from ajudgmcnt debtor’s gross income cannot exceed ten percent (10%) of the
Judgment-Debtor’s gross income.
B. if a Judgment-Debtor’ weekly disposable earnings are less than thirty (30) times the current federal minimum wage
(30 x $7.25 per hour), or $217.25 *), or thirty times the state minimum wage (30 x $9.00 per hour + $270.00*) No deduction
can be made from the judgment debtor’s earnings under this income execution.

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C. A Judgment-Debtor’s weekly disposable earnings cannot bc reduced below the amount arrived at by multiplying thirty (3 0)
times the current federal minimum wage (30 x $1.2$* per hour) or $2|7.50*), or the state minimum (30 x $9.00= $270.00)
under this income cxccution.

D. lf deductions aro being made from a .iudgmcnt~Debtor’s earnings under any orders for alimony, support or maintenance for
family members or former spouses, and those deductions equal or exceed twenty_ftvc percent(25%) of the .iudgment-
Debtor’s disposable eamings, no deduction can be made from the Judgment-Debtor‘s earning under this income execution.

E. if deductions arc being made from a iudgment-Debtor’s earning under any order for alimony, support or maintenance for
family members or former spouses, and those deductions are less than twenty-five pereent(Z$%) of thejudgment debtor’s
disposable earnings, deductions may be made from the Judgment-Debtor’s earnings under this income cxecution. Howevcr,
the amount arrived at by adding the deductions from earnings made under this execution to the deductions made from
earning under any orders for allmony, support or maintenance for family members or fenner spouses cannot exceed twenty-
five percent (25) of the .iudgment-chtor’s disposable earnings.

NOTE: Nothing in this notice limits the proportion or amount, which may be deducted under any order for alimony, support or
maintenance for family members or former apouses.

iI. Expianation of Ltmitatious
Dcl'tnitions

Dlsposable Eamings - Disposablc earning are that art ofan lndividual’s earning lett sher deducting those amounts that are required by law to
be withheld (for example, taxes, social security an unemployment insurance, but not deduction for union ducs, insurance plans, etc...)

Gtoss Income- Gross income is salary, wages or other income, including any and all overtime eamings, ccmmlssions, and income from trusts,
before any deductions are made from such incomc.

illustrations regarding earnings

if disposable earnings is:

(a) 30 times federal minimum wage Amount to pay or deduct front earning under this income execution is:
($262.50*) or less. No payment or deduction allowed
(b) More than 30 times federal minimum The less of: the excess over 30 times the federal minimum wage
Wage ($262.50*) and less than ($262.50*) in disposable earnings, or 10% of gross earnings.
40 times federal minimum wage ($350.00*) _
(c) 40 times the federal minimum wage The less oi`: 25% of disposable earnings or 10% of gross camings.
($350.00*) or more

iii. Notice: You may be able to challenge this income execution through the procedures provided in Ci’LR% 5231 (i) and CPLR%
5240

if you think that the amount of your income being deducted under this income execution exceeds the amount permitted by state or federal low,
you should act promptly because the money will be applied to thcjudgmont.

if you claim that the amount of your income being deducted under this income execution exceeds the amount permitted by state or federal law,
you should contact your employer or other arson paying your income. Further, YOU MAY CONSULTAN A'i'l'ORNEY, iNCLUDING `
LEGAL AlD IF VOU QUALIFY. New ¥or State law provides two procedures through which an income execution can be challenged

CPLR % 5231 (i) Modttieation. At any time, thejudgment debtor may make a motion to a court for an order modifying an income execution.

CPLR % 5240 Modification or protective order: supervision of enforcement At any timc. thejudgmcnt debtor may make a motion to a
court for an order dcnying, limiting, conditioning, regulating, extending or modifying the use of any post-judgment enforcement procedurc.
including the use of income exceutions.

Endorsement:

Date and Time execution received:

 

 

Instailments paid to ' have satisfied the judgment to the extent of$
Principal and $ interest.
Levying officer County
Rcturn to the judgment creditor or his attorney on because of inability to

 

Find gsmishee in the eounty.

 

Levying oilicer County

